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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                           UNITED STATES DISTRICT COURT                               August 19, 2020
                            SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                 LAREDO DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIM. ACTION NO. 5:18-CR-215-1
                                                §
FRANCISCO FLORES                                §

                                            ORDER

       Defendant Francisco Flores, USM No. 37470-479, is a federal inmate confined by the

Bureau of Prisons. (Dkt. 137 at 3.) In 2018, he pleaded guilty to possession of a firearm by a

prohibited person and to possessing with intent to distribute methamphetamine and was

subsequently sentenced to 151 months in prison. (Id. at 1–4.) On October 28, 2019, Defendant

filed “Motion for Leave for Extension of Time to File a Delayed Notice of Appeal” (the “First

Motion”). (Dkt. 141.) In this motion (Dkt. 141), Defendant claims that his attorney, David

Almaraz, failed to timely file a notice of appeal on Defendant’s behalf, despite Defendant’s

specific instructions. (Id. at 2.) The Court denied the First Motion (Dkt. 141) as untimely but

advised Defendant to notify the Court by December 20, 2019 if he wished his motion to be

construed as a motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.

(Dkt. 145.) Defendant subsequently filed “Motion to Vacate, Set Aside, or correct Sentence

Pursuant [to] 28 U.S.C. § 2255” (the “Second Motion”) (Dkt. 150) on January 21, 2020.

       In the Second Motion’s Certificate of Service (Dkt. 150 at 3), Defendant states that the

motion (Dkt. 150) was sent to the Court on December 18, 2019, but the envelope seems to have

been stamped on January 17, 2020. (Id. at 4.) Regardless of the Second Motion’s (Dkt. 150)

timeliness, the Court believes that waiving the deadline would be in the interest of justice. The

Court therefore exercises its “inherent power” to excuse Defendant’s potentially late filing. See


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generally Dietz v. Bouldin, 136 S. Ct. 1885, 1891 (2016) (describing a district court’s “inherent

power. . .to manage [its] own affairs so as to achieve the orderly and expeditious disposition of

cases” (citation omitted)).

        Defendant’s Second Motion (Dkt. 150) “request[s] this Honorable Court to construe [the

First Motion] as a motion to vacate, set aside, or correct sentence pursuant 28 U.S.C. § 2255.”

(Dkt. 150). Given this request, the Court “liberally construes” Defendant’s First Motion (Dkt.

141) as a § 2255 motion to vacate Defendant’s conviction due to ineffective assistance of

counsel. See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (requiring “[a] document filed pro se . .

. ‘to be liberally construed’” (citation omitted)).

        Finally, having reviewed Defendant’s First Motion (Dkt. 141) and the record of prior

proceedings, the Court cannot find that it “plainly appears” Defendant is not entitled to relief.

See Rule 4(b) of the Rules governing § 2255 Proceedings. Although the Docket shows a “Notice

of Non-Appeal” (Dkt. 133), signed by both Defendant and Defendant’s attorney, the Court will

act with an “abundance of caution” to determine whether “Defendant’s attorney in fact

disregarded his instruction to file a timely notice of appeal and/or Defendant unwittingly signed

the notice of non-appeal.” (Dkt. 145 at 4.) See Gomez-Guzman v. United States, No. 5:09-CR-

2528, 2014 WL 12719244, at *5 (S.D. Tex. Mar. 12, 2014) (ordering response by the

defendant’s attorney regarding defendant’s claim that his attorney failed to file a notice of

appeal).

        For the foregoing reasons, Attorney David Almaraz is hereby ORDERED to file a

response to Petitioner’s motion no later than September 2, 2020. For his response, Attorney

Almaraz should report his version of facts in a sworn affidavit or declaration pursuant to 28

U.S.C. § 1746.


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       Additionally, the Clerk of the Court is DIRECTED to mail Attorney Alamaraz a copy of

this Order by any receipted means at the address listed for him on the case docket and

DIRECTED to mail Defendant a copy of this Order by any receipted means at the address

indicated on his most recent filing. Further, the Clerk of the Court is DIRECTED to open a new

civil case pursuant to Defendant’s § 2255 motion.

       IT IS SO ORDERED.

       SIGNED this 19th day of August, 2020.



                                               ___________________________________
                                               Diana Saldaña
                                               United States District Judge




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